UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------X
                                                                   :
ADRIAN JULES,                                                      :
                                             Plaintiff,            :
                                                                   :   20 Civ. 10500 (LGS)
                           -against-                               :
                                                                   :         ORDER
ANDRE BALAZS PROPERTIES, et al.,                                   :
                                             Defendants.           :
-------------------------------------------------------------------X
LORNA G. SCHOFIELD, District Judge:

         WHEREAS, an Opinion and Order issued May 28, 2021, interpreted an Arbitration Agreement

between the parties and stayed proceedings in this case pending completion of arbitration proceedings

before JAMS in California, pursuant to the Federal Arbitration Act. On February 3, 2023, the parties

filed a joint status letter stating that the Arbitrator issued an award on January 17, 2023 in favor of

Defendants (the “Final Award”). The Final Award also included sanctions against Plaintiff and

Plaintiff’s counsel, Thomas A. Farinella.

         WHEREAS, an order issued February 24, 2023, granted a request from Mr. Farinella to

withdraw from representation of Plaintiff. An order issued March 6, 2023, directed the parties and Mr.

Farinella to meet and confer regarding potential settlement. That order also set a briefing schedule for

Defendants’ anticipated motion to confirm the Final Award.

         WHEREAS, on March 10, 2023, Plaintiff filed a letter on ECF alleging misconduct on the part

of Defendants’ counsel. Defendants also filed a letter on ECF, representing that settlement discussions

were not productive. Finally, Thomas A. Farinella entered a notice of appearance as an interested party

in this case. Plaintiff and Mr. Farinella indicate that they intend to move to vacate the Final Award. It is

hereby
       ORDERED that Plaintiff’s request for “appropriate action” against Defendants due to their

conduct during settlement discussions is DENIED. Plaintiff’s letter does not provide a basis to

conclude that Defendants acted inappropriately or engaged in unauthorized practice of law. It is further

       ORDERED that Defendants’ anticipated motion to confirm the arbitral award and Plaintiff and

Mr. Farinella’s anticipated motions to vacate the arbitral award shall be briefed as follows:

   •   By March 24, 2023, Defendants shall file their motion to confirm the Final Award. Any

       memorandum of law filed in support of the motion shall not exceed fifteen pages.

   •   By April 14, 2023, Plaintiff and Mr. Farinella may each file any motion to vacate the arbitral

       award and opposition to Defendants’ motion. Any memorandum of law in support of their

       motion and in opposition to Defendants’ motion shall not exceed fifteen pages.

   •   By April 28, 2023, if Plaintiff or Mr. Farinella files such a motion, Defendants may file any

       opposition to Plaintiff and Mr. Farinella’s motions and reply in support of their motion to

       confirm, not to exceed six pages in total.

   •   By May 12, 2023, Plaintiff and Mr. Farinella may each file a reply in support of their motions to

       vacate, not to exceed six pages.

No further extensions will be granted on these deadlines.

Dated: March 13, 2023
       New York, New York




                                                     2
